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 1                                UNITED STATES DISTRICT COURT
 2                                          DISTRICT OF NEVADA
 3                                                  ***
 4    EVERETT BLOOM et al.,                               Case No. 2:22-cv-00412-CDS-BNW
 5                            Plaintiffs,
                                                          ORDER
 6          v.
 7    ZUFFA, LLC et al.,
 8                            Defendants.
 9

10           Before the Court is Defendant Zuffa, LLC’s Motions to Seal (ECF Nos. 131,138) seeking

11   to redact certain portions of :

12       (1) Zuffa’s Motion for Leave to File Sur-Reply and certain attached exhibits, (ECF Nos. 130,

13           130-1, 130-2, 130-3, 130-4); and

14       (2) Zuffa’s Reply in Support of Motion for Leave to File Sur-Reply (ECF No. 137)

15       In light of the Court’s Order Denying Motion to Seal (ECF No. 152), Meta is to file points

16   and authorities regarding the specific passages in these documents that Meta seeks to maintain

17   under seal.

18       Meta’s motion will be due no later than 30 days from today. The Court will maintain ECF No.

19   130 (including identified exhibits) and ECF No. 137 under seal for 30 days. Meta’s failure to file

20   the appropriate motion within this time period will result in the unsealing of these documents.

21       IT IS THERERFORE ORDERED that Defendant Zuffa’s Motions to Seal at ECF Nos. 131

22   and 138 are DENIED without prejudice and with leave for Meta to file the appropriate

23   motion.

24           DATED: June 21, 2024.

25
                                                          BRENDA WEKSLER
26                                                        UNITED STATES MAGISTRATE JUDGE
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